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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

    COMMODITY FUTURES TRADING
    COMMISSION,
                                                             Case No. 8:19-CV-886-T-33SPF

            Plaintiff,

    v.

    OASIS INTERNATIONAL GROUP,
    LIMITED; OASIS MANAGEMENT, LLC;
    SATELLITE HOLDINGS COMPANY;
    MICHAEL J DACORTA; JOSEPH S.
    ANILE, II.; RAYMOND P MONTIE III;
    FRANCISCO “FRANK” L. DURAN; and
    JOHN J. HAAS,

            Defendants;

    and

    MAINSTREAM FUND SERVICES, INC.;
    BOWLING GREEN CAPITAL
    MANAGEMENT LLC; LAGOON
    INVESTMENTS, INC.; ROAR OF THE
    LION FITNESS, LLC; 444 GULF OF
    MEXICO DRIVE, LLC; 4064 FOUNDERS
    CLUB DRIVE, LLC; 6922 LACANTERA
    CIRCLE, LLC; 13318 LOST KEY PLACE,
    LLC; and 4 OAKS LLC,

    Relief Defendants.
                                                   /

                        THE RECEIVER’S VERIFIED MOTION
         TO APPROVE THE PRIVATE SALE OF REAL PROPERTY – SPECIFICALLY,
             444 GULF OF MEXICO DRIVE #3 IN LONGBOAT KEY, FLORIDA

            Burton W. Wiand, as receiver over the assets of the above-captioned defendants and

    relief defendants (the “Receiver” and the “Receivership” or “Receivership Estate”) moves
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    the Court to approve the sale of 444 Gulf of Mexico Drive #3 in Longboat Key, Florida (the

    “Property”) to LBK Club Holding LLC (the “Purchaser”) for $2,100,000. A copy of the

    Purchase and Sale Agreement is attached as Exhibit 1 (the “PSA”). As explained below, the

    Receiver believes the proposed sale is commercially reasonable and will result in a fair and

    equitable recovery for the Receivership Estate.

                                         BACKGROUND

           At the request of the Commodity Futures Trading Commission (“CFTC”), the Court

    appointed the Receiver on April 15, 2019 and directed him, in relevant part, to “[t]ake

    exclusive custody, control, and possession of the Receivership Estate,” which includes “all

    the funds, properties, premises, accounts, income, now or hereafter due or owing to the

    Receivership Defendants, and other assets directly or indirectly owned, beneficially or

    otherwise, by the Receivership Defendants.” Doc. 7 at p. 14, ¶ 32 & p. 15, ¶ 30.b.

           The Court also directed the Receiver to develop a plan for the liquidation of

    Receivership assets (Doc. 44 ¶¶ 51, 52), which the Receiver filed on June 7, 2019 (Doc. 103)

    (the “Liquidation Plan”). That same day, the Receiver moved the Court to approve (1) the

    Liquidation Plan, (2) a Memorandum of Understanding (the “MOU”) between the Receiver

    and the United States Marshals Service (“USMS”), and (3) a Consent Forfeiture Agreement

    (the “Consent”) between the Receiver and the Department of Justice (“DOJ”). Doc. 105.

    The Court granted the Receiver’s motion and approved the attached documents on June 13,

    2019. Doc. 112. On July 11, 2019, the Court entered a Consolidated Receivership Order

    (Doc. 177) (the “Consolidated Order”), which combined and superseded two prior orders

    (Docs. 7 & 44) and is now the operative document governing the Receiver’s activities.




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    The Procedures Applicable to Sales of Real Property

           The Consolidated Order requires the Receiver to obtain Court approval of sales of real

    (as opposed to personal) property:

           Upon further Order of this Court, pursuant to such procedures as many be
           required by this Court and additional authority such as 28 U.S.C. §§ 2001 and
           2004, the Receiver will be authorized to sell, and transfer clear title to, all real
           property in the Receivership Estates. The parties agree the Receiver can move
           the Court to waive strict compliance with 28 U.S.C. §§ 2001 and 2004.

    Doc. 177 ¶ 40. The procedures applicable to private sales of receivership real estate are set

    forth in 28 U.S.C. § 2001(b) (“Section 2001(b)”):

           After a hearing, of which notice to all interested parties shall be given by
           publication or otherwise as the court directs, the court may order the sale of
           such realty or interest or any part thereof at private sale for cash or other
           consideration and upon such terms and conditions as the court approves, if it
           finds that the best interests of the estate will be conserved thereby. Before
           confirmation of any private sale, the court shall appoint three disinterested
           persons to appraise such property or different groups of three appraisers each
           to appraise properties of different classes or situated in different localities. No
           private sale shall be confirmed at a price less than two-thirds of the appraised
           value. Before confirmation of any private sale, the terms thereof shall be
           published in such newspaper or newspapers of general circulation as
           the court directs at least ten days before confirmation. The private sale shall
           not be confirmed if a bona fide offer is made, under conditions prescribed by
           the court, which guarantees at least a 10 per centum increase over the price
           offered in the private sale.

    28 U.S.C. § 2001(b). 1 As noted above and in the Consolidated Order, the Receiver can move

    the Court to waive strict compliance with these procedures, but as explained below, the

    Receiver has substantially and materially complied with the statute.




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      Section 2001(b) governs here because this is a private sale of real property and because
    28 U.S.C. §§ 2001(a) and 2004 deal with public auctions and personal property, respectively.




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    The Civil Forfeiture of the Property

           On April 17, 2019, the DOJ, through the United States Attorney’s Office for the

    Middle District of Florida, filed a civil forfeiture action against the Property and several

    others. See United States of America v. 13318 Lost Key Place, Lakewood Ranch, Florida et

    al., Case No. 8:19-cv-00908 (M.D. Fla.) (Doc. 1 ¶ 1) (the “Forfeiture Action” or “FA”). To

    avoid unnecessary litigation between the Receiver and the government or other interested

    parties, the Receiver consented to the forfeiture of the Property (among others), which

    Consent this Court approved. See Docs. 105, 112.

           On August 7, 2019, the DOJ filed a motion for judgment of forfeiture regarding, in

    relevant part, the Property (FA Doc. 61), and the court in the Forfeiture Action granted the

    DOJ’s motion on August 20, 2019 (FA Doc. 63) (the “Forfeiture Order”). The court

    recognized claims against the Property, in relevant part, by (1) the Sarasota County Tax

    Collector and (2) the Sailboat Square Condominium Association, Inc. FA Doc. 63 at 3. The

    court then condemned and forfeited all right, title, and interest in the Property to the United

    States “for disposition according to law.” Id. at 3-4. The court held that “[c]lear title to the

    [Property] is now vested in the United States,” subject to the claims described above. Id. at 4.

    The Receiver’s Role under the MOU in Cooperation with the USMS

           The USMS and the Receiver executed an MOU, which establishes procedures for the

    liquidation of the Property (and others at issue in the Forfeiture Action). Doc. 105, Ex. B.

    According to the MOU, “[t]he Receiver has sole discretion to decide the logistics of the sale

    of the Forfeited Receivership Assets, on the terms and in the manner the Receiver deems

    most beneficial to the Receivership Estate and with due regard to the realization of the true



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    and proper value of such property.” Id. § VI.C. The MOU also recognizes that “[a]ll sales of

    Receivership Assets, including Forfeited Receivership Assets, must comply with the

    provisions set forth in the Receivership Orders [now, the Consolidated Order].” Id. § III.

    Finally, the MOU authorizes the Receiver to deduct certain “Asset Expenses” from the

    proceeds of the sale, which are defined as “direct expenses necessary to safeguard, maintain,

    advertise, and sell” the assets, including “closing costs, publication costs, and broker fees or

    commissions.” Id. § IV.D.

           At closing, the Receiver and the United States will transfer the Property to the

    Purchaser, as set forth in the PSA.2 After the Receiver sells the Property (or any other

    forfeited property), the Receiver will deduct any Asset Expenses and transfer the net

    proceeds to the USMS for deposit in the Department of Justice Asset Forfeiture Fund. Id.

    § IV.E. Once all properties have been sold, the Receiver will file a petition for remission

    with the DOJ, and the sale proceeds will be returned for distribution to defrauded investors

    through a to-be-established claims process supervised by this Court. As noted above, the

    Court has already approved the MOU and its contents. See Docs. 105, 112.

    The Property, the Receiver’s Marketing Efforts, and the Proposed Sale

           Defendant Oasis International Group, Limited (“OIG”) used the Property as an office.

    It was owned by relief defendant 444 Gulf of Mexico Drive, LLC. Defendant Michael

    DaCorta was a principal of that entity until the Receiver’s appointment. The two-story


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      The United States, by its consent to this motion, and the USMS, by its consent to the PSA,
    authorize the Receiver to transfer the interest of the United States in the Property to the
    Purchaser pursuant to a Receiver’s Deed.




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    Property is located on the waterfront in Longboat Key and has a dock for boats. It contains

    approximately 8,246 square feet, including an elevator, a reception area, several private

    offices, and a conference room. OIG purchased the Property on December 21, 2017 for

    $1,750,000, and the 2019 tax assessed value is $1,665,000. There is no mortgage.

            The Receiver’s marketing efforts included listing the Property for sale on his website 3

    and retaining Coldwell Banker Commercial NRT to advertise the Property through various

    means. The list price was $2,050,000. The marketing efforts generated a significant amount

    of interest from multiple potential purchasers, which ultimately resulted in the PSA. The

    purchase price is $50,000 more than the list price and $435,000 more than the tax assessed

    value. It represents a gross recovery of not just $2,100,000 but also a gross profit of

    $350,000 (in comparison to the 2017 purchase price) for the Receivership Estate.

            To further ensure the fairness of the purchase price, the Receiver has obtained three

    appraisals or similar valuations of the Property.      First, the Receiver obtained a formal

    appraisal from Integra Realty Resources, which concluded that the market value of the

    Property was $2,100,000, as of September 9, 2019. A copy of the appraisal is attached as

    Exhibit 2. Second, the Receiver obtained a Broker Price Opinion from SVN Commercial

    Advisory Group, which identified an expected sale price between $1,608,750 and

    $1,773,750. A copy of that opinion is attached as Exhibit 3. Third, the Receiver obtained a

    Broker Price Opinion from Ian Black Real Estate, which identified an expected sale price




    3
        www.oasisreceivership.com/assets-for-sale/444-gulf-of-mexico-drive/




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    between $1,650,000 and $1,850,000. A copy of that opinion is attached as Exhibit 4. As

    demonstrated by these exhibits, the purchase price is fair and reasonable.

    Section 2001(b) Publication

           To satisfy the publication requirement of Section 2001(b), the Receiver will publish

    the terms of the sale for one day in the Sarasota Herald Tribune, which is regularly issued

    and of general circulation in the district where the Property is located. A copy of the notice

    is attached as Exhibit 5. The Receiver will also publish this motion and the notice on his

    website – www.oasisreceivership.com. No less than 10 days after publication of the notice,

    the Receiver will inform the Court whether any potential purchaser submitted a “bona fide

    offer,” as contemplated by Section 2001(b). Given these circumstances and the existence of

    a ready-and-willing Purchaser, the Receiver believes that approval of the proposed sale

    pursuant to the Liquidation Plan and Section 2001(b) will obtain the largest possible recovery

    for the Receivership Estate.

                                            ARGUMENT

           The Court’s power to supervise an equity receivership and to determine the

    appropriate actions to be taken in the administration of the receivership is extremely broad.

    S.E.C. v. Elliott, 953 F.2d 1560, 1566 (11th Cir. 1992); S.E.C. v. Hardy, 803 F.2d 1034, 1038

    (9th Cir. 1986). The Court’s wide discretion derives from the inherent powers of an equity

    court to fashion relief. Elliott, 953 F.2d at 1566; S.E.C. v. Safety Finance Service, Inc., 674

    F.2d 368, 372 (5th Cir. 1982). A court imposing a receivership assumes custody and control

    of all assets and property of the receivership, and it has broad equitable authority to issue all

    orders necessary for the proper administration of the receivership estate. See S.E.C. v. Credit



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    Bancorp Ltd., 290 F.3d 80, 82-83 (2d Cir. 2002); S.E.C. v. Wencke, 622 F.2d 1363, 1370 (9th

    Cir. 1980). The court may enter such orders as may be appropriate and necessary for a

    receiver to fulfill his duty to preserve and maintain the property and funds within the

    receivership estate. See, e.g., Official Comm. Of Unsecured Creditors of Worldcom, Inc. v.

    S.E.C., 467 F.3d 73, 81 (2d Cir. 2006). Any action taken by a district court in the exercise of

    its discretion is subject to great deference by appellate courts. See United States v. Branch Coal,

    390 F.2d 7, 10 (3d Cir. 1969). Such discretion is especially important considering that one of the

    ultimate purposes of a receiver’s appointment is to provide a method of gathering, preserving,

    and ultimately liquidating assets to return funds to creditors. See S.E.C. v. Safety Fin. Serv., Inc.,

    674 F.2d 368, 372 (5th Cir. 1982) (court overseeing equity receivership enjoys “wide

    discretionary power” related to its “concern for orderly administration”) (citations omitted).

           Given these principles, the Court should approve the proposed sale for at least six

    reasons. First, the Receiver is complying with Section 2001(b). Specifically, he obtained

    three valuations of the Property, and the purchase price is equal to or greater than the

    estimates disclosed in those valuations. See Exs. 2-4. Section 2001(b) provides that “[n]o

    private sale shall be confirmed at a price less than two-thirds of the appraised value” – here,

    $1,271,944.44 based on an average of the three highest valuations. The $2,100,000 purchase

    price is well above that amount. Shortly after filing this motion, the Receiver will publish

    notice of the proposed sale and its terms in the Sarasota Herald Tribune. After the expiration

    of the 10-day statutory window, the Receiver will advise the Court whether any individual or

    entity submitted a “bona fide offer” – i.e., an offer 10% higher than the current purchase

    price. If no one objects to this motion or submits a “bona fide offer,” to conserve resources,




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    the Receiver asks that the Court grant the motion without a hearing. See Doc. 177 ¶ 40 (“The

    parties agree the Receiver can move the Court to waive strict compliance with 28 U.S.C.

    §§ 2001 and 2004.).

           Second, as noted above, the purchase price is $50,000 more than the list price and

    represents a gross recovery of not just $2,100,000 but also a gross profit of $350,000 for the

    ultimate benefit of the Receivership Estate.

           Third, the United States and the USMS are the only parties with an interest in the

    Property under the Forfeiture Order (aside from the forfeiture claimants who will be paid at

    closing), and both the United States and the USMS consent to the transaction, as evidenced

    below and in the PSA. The Receiver is not aware of any other encumbrances. Under such

    circumstances, the Consolidated Order authorizes the Receiver (in conjunction with the

    United States) to transfer clear title to Purchaser. See Doc. 177 ¶ 40.

           Fourth, the existence of a ready-and-willing Purchaser will ensure an efficient and

    cost-effective recovery for the Receivership Estate.

           Fifth, sale of the Property will eliminate the Receiver’s need to pay for additional,

    expensive upkeep and carrying costs on a multimillion-dollar waterfront building, including

    insurance, utilities, security, and repairs. To date, the Receiver has spent approximately

    $45,000 maintaining and safeguarding the Property. 4 The Receiver will recover those costs

    as Asset Expenses under the MOU.



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       Insurance accounts for more than $30,000 of this amount, a prorated portion of which
    should be refunded after the Receiver cancels the policy following the sale.




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            Sixth, this is an arms’-length transaction.     The purchaser is affiliated with the

     condominium association for the complex in which the Property is located and thus has a

     right of first refusal under pertinent documents, but the Receiver is not aware of any

     connection between the Purchaser and the Receiver or any other connection between the

     Purchaser and the defendants or relief defendants.

                                           CONCLUSION

            For the reasons discussed above, the transaction is commercially reasonable, fair and

     equitable, and will ensure a cost-effective recovery for the ultimate benefit of the

     Receivership Estate. As such, the Receiver requests an order, in substantially the form

     attached as Exhibit 6: (1) approving the transaction and the PSA and (2) ordering that the

     Receiver may transfer title to the Property by Receiver’s Deed to the Purchaser, free and

     clear of all claims, liens, and encumbrances, including without limitation the interests of the

     Receiver and the United States.

                             LOCAL RULE 3.01(G) CERTIFICATION

            Counsel for the Receiver has conferred with counsel for the CFTC and is authorized

     to represent to the Court that the CFTC has no objection to the requested relief. The United

     States also has no objection to the requested relief and consents to the sale of the Property

     and transfer of title to the Purchaser, as reflected below and in the PSA. Defendant Montie,

     defendant Haas, defendant Anile, defendant Duran, and relief defendant Mainstream have no

     objection to the relief requested in the motion. The other entities (except Satellite Holdings,

     which is associated with defendant Haas) have defaulted. Counsel attempted to contact

     defendant DaCorta by email on November 8 and again on November 11, 2019 without




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     success. (DaCorta has a public defender, but that attorney is not participating in the civil

     litigation; the Receiver also does not have a working telephone number for defendant

     DaCorta at this time). The Receiver asks the Court not to grant this motion until he has

     complied with the publication requirements in Section 2001(b), as explained above, and filed

     the requisite notices. If defendant DaCorta responds to the Receiver’s communications

     during the notice period, the Receiver will update this Local Rule 3.01(g) certification

     accordingly.

                              VERIFICATION OF THE RECEIVER

            I, Burton W. Wiand, Court-Appointed Receiver in the above-styled matter, hereby

     certify that the information contained in this motion is true and correct to the best of my

     knowledge and belief.

                                                  s/ Burton W. Wiand
                                                  Burton W. Wiand, Court-Appointed Receiver


                              CONSENT OF THE UNITED STATES

            By the signature of its representative to this motion, the United States consents to the

     Receiver’s transfer of the United States’ interest in and title to the Property by Receiver’s

     Deed to the Purchaser, as set forth in the PSA and proposed order.

                                                  s/ Suzanne C. Nebesky
                                                  Suzanne C. Nebesky
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                                  CERTIFICATE OF SERVICE


            I HEREBY CERTIFY that on November 12, 2019, I electronically filed the

     foregoing with the Clerk of the Court by using the CM/ECF system. I also served the

     foregoing by mail and email on the following non-CM/ECF participants:

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